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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                   (at London)

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )     Criminal Action No. 6: 13-26-DCR-02
                                             )
 V.                                          )
                                             )
 ARTHUR JENT, JR.,                           )                   ORDER
                                             )
        Defendant.                           )

                                   *** *** *** ***

       This matter is pending for consideration of the Recommended Disposition regarding

Defendant Arthur Jent, Jr.’s competency. [Record No. 119] Following an evaluation

conducted by licensed forensic psychologist Judith Campbell, Ph.D., at the Federal Medical

Center in Lexington, Kentucky, United States Magistrate Judge Hanly A. Ingram held a

competency hearing. After reviewing all relevant materials, Magistrate Judge Ingram

recommended that the Court find Jent competent to proceed in this matter. [Id., pp. 5-6]

Additionally, he recommended that certain suggestions offered by Dr. Campbell in the

Psychiatric Report be implemented. [See Record No. 114, p. 9] Neither Jent nor the United

States has objected to the Recommended Disposition.

       While this Court must make a de novo determination of those portions of the

magistrate judge’s recommendations to which an objection is made, 28 U.S.C.

§ 636(b)(1)(C), “[i]t does not appear that Congress intended to require district court review

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of a magistrate’s factual or legal conclusions, under a de novo or any other standard, when

neither party objects to those findings.” Thomas v. Arn, 474 U.S. 140, 150 (1985).

Moreover, a party who fails to file objections to a magistrate judge’s proposed findings of

fact and recommendation waives the right to appeal. See United States v. Branch, 537 F.3d

582, 587 (6th Cir. 2008); Wright v. Holbrook, 794 F.2d 1152, 1154-55 (6th Cir. 1986).

       As outlined in the Recommended Disposition, the magistrate judge found no evidence

to support a finding that the defendant is not competent, and found nothing that would permit

an incompetency finding by a preponderance of the evidence. [Record No. 119, p. 5]

Further, the evidence supports a finding that Jent is able to understand the nature and

consequences of the proceedings and can properly assist in his defense. [Id.] Accordingly,

it is hereby

       ORDERED that the Recommended Disposition of United States Magistrate Judge

Hanly A. Ingram [Record No. 119] is ADOPTED and INCORPORATED by reference.

       This 29th day of January, 2014.




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